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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                  CASE NUMBER: 09-14007CR-MOORE/LYNCH

  UNITED STATES OF AMERICA

  -vs-

  FRANK PIERRE,
       Defendant.
  ______________________________/

               RENEWED NOTICE OF UNRESOLVED MOTION
         COMES NOW the Defendant, Frank Pierre, by the undersigned counsel and
  would respectfully give Notice of an unresolved Motion in this matter and would
  advise as follows:
         1.    The Defendant was tried, convicted and sentenced to life
  imprisonment upon count one and 40 years upon count two on the charges for which
  he was indicted.
         2.    The convictions were affirmed by the United States Court of Appeals for
  the Eleventh Circuit [D.E. 486] and the United States Supreme Court denied
  Certiorari [D.E. 500].
         3.    Mr. Pierre filed various pro se motions as well as a 28 U.S.C. 2255
  Motion [D.E. 554].
         4.    In June of 2019 Mr. Pierre filed a Motion to Receive Credit for
  Cooperation [D.E. 628], which, after Response by the Government [D.E. 632], was
  denied by the Court on July 3, 2019 [D.E. 633].
         5.    Thereafter, on August 6, 2019, the Defendant, through counsel, filed a


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  Motion for Retroactive Two Level Reduction [D.E. 634], under Amendment 782 of
  the sentencing guidelines, together with a Memorandum in Support thereof [D.E.
  635].
          6.    The Court ordered responses by the Government [D.E. 636], which the
  Government filed, and it opposed the Defendant receiving the 782 benefit. This was
  filed on August 19, 2018 [D.E. 637].
          7.    Due to the Government’s response being served somehow to an email
  address for the undersigned that was no longer in use the Defendant’s Reply to the
  Government’s Response was filed on September 17, 2019 [D.E. 638], which only
  adopted anew the Motion.
          8.    That to date there has not been a ruling on the Motion and the Defendant
  respectfully would just notify the Court that the matter is outstanding.
                            CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 9th day of March, 2021, I electronically filed
  the foregoing document with the Clerk of the Court using CM/ECF. I also certify that
  the foregoing is being served this day on all counsel of record listed in the Service
  List below via transmission of Notices of Electronic Filing generated by CM/ECF or
  in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.




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